













NUMBER 13-08-00720-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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STATE OFFICE OF RISK MANAGEMENT, 	Appellant,


v.



ALICIA FUENTES,	Appellee. 

		

_____________________________________________________________


On Appeal from the 370th District Court 


of Hidalgo County, Texas.


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MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Garza and Vela


Memorandum Opinion Per Curiam


	Appellant, State Office of Risk Management, perfected an appeal from a judgment
entered by the 370th District Court of Hidalgo County, Texas, in cause number C-900-05-G.  Appellant has filed an unopposed motion to dismiss the appeal on grounds appellant
no longer wishes to pursue its appeal.  Appellant requests that this Court dismiss the appeal.

	The Court, having considered the documents on file and appellant's unopposed
motion to dismiss the appeal, is of the opinion that the motion should be granted.  See Tex.
R. App. P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby
DISMISSED.  Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent
agreement of the parties, the court will tax costs against the appellant.").  Having dismissed
the appeal at appellant's request, no motion for rehearing will be entertained, and our
mandate will issue forthwith.


							PER CURIAM

Memorandum Opinion delivered and

filed this the 21st day of May, 2009. 





	


